    19-23649-rdd       Doc 44-1       Filed 09/17/19 Entered 09/17/19 13:47:50                     Proposed
                                             order Pg 1 of 1


IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
In re:                                                  Chapter 11

PURDUE PHARMA L.P, et al.,1                             Case No. 19-23649- rdd

                                                        (Joint Administration Pending)

                 Debtors.


             ORDER GRANTING ADMISSION TO PRACTICE, PRO HAC VICE

         Upon the motion of Michael R. Morano, to be admitted pro hac vice, to represent

Westchester Fire Insurance Company and its affiliated sureties, creditors in the above-referenced

case, and upon the movant’s certification that he is a member in good standing of the bars of the

State of New York, the State of New Jersey and the United States District Court for the District

of New Jersey, it is hereby

         ORDERED, that Michael R. Morano, Esq. is admitted to practice pro hac vice in the

above referenced case to represent Westchester Fire Insurance Company and its affiliated

sureties, in the United States Bankruptcy Court for the Southern District of New York, provided

that the filing fee has been paid.

Dated:

                                            __________________________________________
                                            UNITED STATES BANKRUPTCY JUDGE



1
  The Debtors in these chapter 11 cases, along with the last for digits of each Debtor’s registration number in the
applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnic Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stambford, CT 06901. A motion for joint administration is pending.
